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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CARZANNA JONES and HEYNARD L.
PAZ-CHOW, on behalf of themselves and all
                                                      Case No.:
others similarly situated,

                Plaintiffs,
                                                      Jury Trial Requested
         v.

JOHN MICHAEL MULVANEY, in his
official capacity as Acting Director,
Consumer Financial Protection Bureau, and
CONSUMER FINANCIAL PROTECTION
BUREAU,

                Defendants.


                                CLASS ACTION COMPLAINT

         Plaintiffs Carzanna Jones and Heynard L. Paz-Chow (“Plaintiffs”), on behalf of

themselves and all others similarly situated, hereby file this Class Action Complaint of

discrimination and retaliation against Defendants Consumer Financial Protection Bureau and

John Michael Mulvaney, Acting Director of the CFPB (collectively “Defendants,” “CFPB,” or

the “Bureau”), and in support state as follows:

                                          OVERVIEW

         1.     The CFPB is tasked with fighting for justice on behalf of American consumers,

but its own employees have found their work environment less than just. The CFPB maintains a

biased culture replete with harmful stereotypes regarding its racial minority and female

employees that infect its policies and decision-making, including performance evaluations,

compensation, and promotions. Plaintiffs, and the class they seek to represent in this lawsuit,

challenge the CFPB’s Bureau-wide policies and practices that result in lower pay and

performance appraisals and fewer promotions for racial minorities and women.
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         2.     Plaintiffs file this lawsuit to hold the CFPB accountable for its unlawful treatment

of racial minorities and women and to achieve meaningful reform. This lawsuit is brought by

Plaintiffs on behalf of themselves and all other minority employees and women who work or

worked as Consumer Response Specialists and have been subjected to and harmed by the

Bureau’s agency-wide pattern or practice of discrimination and retaliation and discriminatory

policies and practices. This action seeks class-wide injunctive relief to end CFPB’s entrenched

racial and gender discrimination and retaliation and make-whole relief for class members.

                                 JURISDICTION AND VENUE

         3.     Plaintiffs’ claims arise under 42 U.S.C. § 1981, Title VII of the Civil Rights Act

of 1964, as amended , 42 U.S.C. § 2000e et seq.(“Title VII”), the Equal Pay Act, 29 U.S.C. §

206(d), and the Americans with Disabilities Act, (“ADA”), 42 U.S.C. § 12112, et seq. and this

Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, and 1343.

         4.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b). The CFPB is

headquartered in this District. Throughout their tenure at the CFPB, Plaintiffs worked for and

were harmed by CFPB in this District. The unlawful conduct alleged in this Complaint occurred

in this District and across the United States.

                                             PARTIES

         5.     Defendant John Michael Mulvaney is the Acting Director of the CFPB. He is sued

in his official capacity.

         6.     Defendant CFPB is an executive agency of the United States within the meaning

of 5 U.S.C. § 105. Established in Title X of the Dodd-Frank Wall Street Reform and Consumer

Protection Act, the Bureau regulates consumer financial products and services in compliance

with federal law.



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         7.     Plaintiff Carzanna Jones (“Jones”) is an African American woman who has been

employed by the CFPB in the Consumer Response Division for over six years. Jones too has

competently discharged all duties assigned to her and enjoyed an excellent reputation with regard

to the high quality of her work and her conscientious devotion to her job. Like Paz-Chow, and

also consistent with CFPB’s pattern or practice of discrimination and Bureau-wide

discriminatory policies, the CFPB subjected Jones to discrimination and retaliation.

         8.     Plaintiff Heynard Paz-Chow (“Paz-Chow”) is a man of Asian and Hispanic

descent who worked for three years in CFPB’s Consumer Response Division. Throughout his

employment, Paz-Chow competently discharged all duties assigned to him and enjoyed an

excellent reputation regarding the high quality of his work and his conscientious devotion to his

job. Nevertheless, consistent with Defendants’ pattern or practice of discrimination and Bureau-

wide discriminatory policies, the CFPB subjected Paz-Chow to discrimination and retaliation.

                                  FACTUAL ALLEGATIONS

  I.     The CFPB Has and is Engaged in Bureau-Wide Systemic Discrimination Against
         Minority Employees and Female

         9.     The Bureau has and is engaged in a pattern and practice of race and gender

discrimination against minority and women employees and maintains policies and practices that

have a disparate impact on racial minorities and females. CFPB maintains stereotypical views

about the skills, abilities, and potential of its racial minority and female employees that form the

basis of its policies and practices and result in the segregation and differential treatment of

minorities and women.

         10.    During Plaintiffs’ employment, CFPB has engaged in a pattern and practice of

unlawful conduct toward its minority and women employees, including but not limited to the

following:

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         a)     excluding minorities and women from training opportunities that are regularly
                offered to white or male employees;

         b)     excluding minorities and women from details, projects and other assignments that
                are regularly offered to white or male employees;

         c)     employing bureau-wide performance evaluation policies that disproportionately
                result in high performance ratings for white or male employees and average (or
                lower) performance ratings for minority and women employees;

         d)     employing a quota system to measure employee productivity that weighs
                investigation assignments without regard to complexity while assigning women
                and minorities and women the majority of longer-term, more complex
                investigations;

         e)     failing to credit minorities and women for their experience on the same basis as
                white or male employees and failing to consider minorities and women for timely
                promotions and title changes on the same basis as whites or men;

         f)     failing to grant minority and women employees conversions from “straight term”
                or from “term to perm” to permanent status on the same basis as white or male
                employees;

         g)     systematically paying minorities and women lower wages and/or denying
                minorities opportunities to increase their earnings;

         h)     retaliating against minority and women employees who complain of
                discrimination including by subjecting them to further discrimination, harassment,
                retaliation, and constructively discharging or discharging them.

    A. A Congressional Investigation and Independent Studies Find Discrimination and
       Retaliation at the Bureau

         11.    The Bureau’s performance management policies and practices have already been

found to have a disparate impact on minorities and women. The U.S. House of Representatives

Committee on Financial Services held hearings on April 2 and May 21, 2014, to investigate

“Allegations of Discrimination and Retaliation within the Consumer Financial Protection

Bureau.” The transcripts and exhibits of those hearings demonstrate a widespread culture of

discrimination and retaliation at the Agency.



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         12.    On April 2, 2014, Bureau’s Consumer Response attorney, Angela Martin, testified

to the “culture of retaliation and intimidation that silences employees from exposing

wrongdoing.” She also testified that “the white males in power” at Consumer Response give

themselves the highest performance evaluation ratings, ensuring for themselves the top raises

and bonuses. Meanwhile, minority employees make up what is called “the plantation.” They do

the work of the Bureau but receive lower performance ratings and fall farther behind in

compensation, creating a racial pay gap that continues to widen.

         13.    The Bureau’s internal analysis confirmed that Caucasian Bureau employees were

significantly more likely than minorities to receive the highest performance rating and

significantly less likely to receive the lower ratings. For example, a white employee was twice

as likely as an African American or Hispanic to receive the top rating in 2013.

         14.    Independent investigator Misty Raucci testified to her finding that “the general

environment in Consumer Response is one of exclusion, retaliation, discrimination,

demoralization, and other offensive working conditions which constitute a toxic workplace for

many of its employees.” Indeed, while investigating Martin’s case, Raucci was inundated by

calls from other employees, and she “became a veritable hotline for employees of the Agency

who called [her] to discuss their own maltreatment at the Bureau.”

         15.    At the May 21, 2014 Congressional hearing, it become “apparent that the Agency

was aware of the racial disparities in key metrics” since at least September 2013, when the

Bureau received the study it had commissioned from Deloitte Consulting. The Deloitte study

found “sharp racial disparities in performance ratings, pay, hiring, and other areas.” It also found

“that the minority population is overrepresented in the lower pay bands and underrepresented in

the higher pay bands, which is masked in the Bureau-level data.” Nine months after receiving



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the Deloitte study, the Bureau finally conceded that its performance rating practices had caused

“widespread disparities” that were “statistically significant . . . in many categories . . ., including

race/ethnicity [and] age[.]”

    B. The OIG Report Confirms Systemic Discrimination in Pay and Performance
       Ratings

         16.    On March 4, 2015, the Office of Inspector General (“OIG”) issued a report

entitled “The Agency Can Enhance Its Diversity and Inclusion Efforts.” The impetus for the

OIG report was a March 24, 2014, letter from Congress requesting an investigation “to detect

whether any personnel practices and policies have created an unfair or discriminatory workplace

for minorities and women employed at the CFPB.” The letter noted:

         We are concerned about recent allegations that managers at the [Agency] have
         shown a pattern of ranking white employees distinctly better than minority
         employees in performance reviews, as reported in a recent American Banker
         article entitled, “Agency Staff Evaluations Show Sharp Racial Disparities,” on
         March 6, 2014.

         17.    In response, the OIG commissioned DCI Consulting Group to perform a statistical

analysis of the Bureau’s 2012 and 2013 performance ratings. As the consultants explained, the

Bureau’s performance rating system was key to understanding pay disparities because it: 

         serves as the basis for determining “pay-for-performance” amounts provided to
         employees. These increases take two forms: merit increases, which affect
         employees’ base salary and growth over time, and supplemental lump sum
         payments. Both of these annual compensation programs are in part dependent
         upon an employee’s performance rating.

         18.    The consultants found that: 

         Whites were rated significantly higher than African Americans in 2012 and 2013.
         . . . Additionally, Whites were rated significantly higher than Hispanics in 2013[.]

The OIG determined that these racial disparities became more widespread within the Bureau in

2013 than they had been the year before.


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         19.    The OIG also found that, that white employees make up a greater percentage of

higher paid employees. For each of the three years studied, “White employees as a percentage of

total employees within each pay grade series increased as the pay increased.” In 2013, for

example, although white employees made up only 52 percent of the lower paid workforce, they

made up almost 76 percent of the higher paid workforce.

         20.    These findings were consistent with the Bureau’s own internal analysis, which

found statistically significant disparities in performance ratings based on race and ethnicity,

among other protected factors. Notably, in four of the six divisions within the Bureau, “White

employees received higher performance ratings, on average, than Black/African American

employees,” and this same disparity for Hispanics existed in three of the six divisions. These

disparities were not the result of happenstance. Even after receiving the OIG Report, the Bureau

did not require its managers and supervisors to attend diversity and inclusion training.

    C. The Bureau’s Own Data Demonstrate the Discriminatory and Retaliatory
       Environment

         21.    The Bureau’s data show that Caucasian employees were paid, on average,

significantly more than African Americans in every year between 2011 and 2016, as shown

below:

                          Year                          Average End of Year Salary
                                                     Caucasian          African American
                          2011                              $111,489                $83,421
                          2012                                99,825                 83,125
                          2013                               101,891                 86,567
                          2014                               103,578                 88,129
                          2015                               105,576                 90,265
                          2016                               109,886                 94,207

         22.    In addition, male employees were paid, on average, significantly more than

women in 2011, 2012, 2013, and 2015, as shown below:


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                         Year                        Average End of Year Salary
                                                    Male                  Female
                         2011                            $106,521               $101,872
                         2012                              99,933                 91,446
                         2013                              98,615                 96,025
                         2015                             103,657                 99,712

         23.    Moreover, Bureau data demonstrate that those who complained about

discrimination were, on average, significantly less likely to be promoted:


                          Year                    Percentage of Employees Promoted
                                               No EEO Activity         Complained of
                                                                       Discrimination
                          2013                                8%                                6%
                          2014                                9%                                6%
                          2015                                8%                                5%
                          2016                               10%                                3%


         24.    The discrimination described above is ongoing and constitutes a continuing

violation of federal civil rights laws. The discriminatory policies and practices at CFPB are

uniform and national in scope. Class members relying on Plaintiffs to protect their rights work

or worked for CFPB throughout the country and were harmed by these same policies and

practices.

II.      The CFPB Has Subjected Jones To Unlawful Treatment And Retaliation

         25.    Jones came to the CFPB with considerable relevant experience after serving as a

paralegal for the United States Army and Department of Defense (“DOD”). At the DOD, Jones

excelled in a range of duties including investigating consumer complaints related to credit cards,

loans, mortgages, and other financial disputes. Jones contacted financial institutions including

credit reporting agencies and debt collection companies regarding consumer complaints. She

reviewed case files to determine if the institution had committed any violations, attempted to

resolve those issues, and counseled consumers about their options.

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         26.    In 2012, Jones interviewed for and was offered a position with CFPB. Jones

began working as a CFPB Consumer Response Specialist on September 30, 2012.

         27.    As a part of the mortgage team at the CFPB, Jones’s duties included reviewing

consumers’ mortgage complaints, investigating those complaints, and deciding which, if any,

regulations had been violated. Jones also helped to track various financial institutions to detect

any patterns of violations or other trends.

         28.    Throughout her employment, Jones has been denied the training and mentoring

opportunities that were provided to her white male colleagues.

         29.    In spite of her dedication and demonstrated success at CFPB, the Bureau has

treated Jones less favorably than her white, male counterparts and retaliated against her for

complaining about her discriminatory treatment.

         30.    For example, Jones has been consistently paid less than similarly situated white

and male colleagues at the Bureau, including male Consumer Response Specialists. In addition,

Jones’s performance evaluations did not accurately reflect her performance, because the Bureau

failed to assign investigations equally: Jones was assigned complex investigations that took

longer to close, while less complex investigations that required little time to complete were given

to whites and male employees.

         31.    The Bureau also improperly denied Jones promotions and transfers to other

positions. For example, although she met the requirements for a “Career Ladder” promotion, the

Bureau refused to promote Jones.

         32.    By selectively providing special projects and detail assignments to non-African

Americans and males, the CFPB steered more desirable assignments and promotions to whites

and males. For example, the CFPB gave a position to Christopher Dean (a white male), who was



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hired three months after Jones, because the Bureau hand-picked him for a special project related

to the position. Jones, in contrast, was never offered a project or detail assignment during her

entire tenure at the CFPB.

         33.     Similarly, Jones was frequently passed over for training opportunities. For

example, CFPB offered leadership training but never chose Jones. Instead, the vast majority of

employees that were able to attend training were white males.

         34.     The CFPB also violated Jones’s rights under the Americans with Disabilities Act

when they failed to engage in the interactive process, held her disability against her and used the

reasonable accommodation process as a further opportunity to discriminate and retaliate against

her.

         35.     For example, Jones took FMLA leave due to her disability of suffering crippling

migraines, anxiety and depression, but the Bureau considered her AWOL. Both of her managers

knew about Jones’s disability, yet they took her absence as an excuse to deny her the opportunity

to move to a different product.

         36.     While Jones was incapacitated with her disability, CFPB had a restructuring

where they allowed employees to move onto other projects. Yet, when Jones returned to work

she was not offered the same opportunity to move to another project—though her desire to do so

was well known to CFPB management.

         37.     Jones’s disability affected her production numbers, and despite explaining this to

her managers and requesting an accommodation for her disability, Jones’s supervisors and CFPB

used her disability as one more opportunity to discriminate and retaliate against her.

         38.     She submitted the required reasonable accommodation paperwork but heard

nothing for many weeks. When Jones asked about the status of her request, HR told her they lost



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the paperwork and she would have to resubmit everything. Jones resubmitted the written

accommodation materials.

         39.     After she reviewed an email from the CFPB Director explaining the Bureau was

evaluating “a systemic disadvantage to various categories of employees,” Jones filed a complaint

of discrimination and retaliation with the CFPB’s Equal Opportunity Office (“EEO”) on or about

August 19, 2014. CFPB retaliated by denying Jones’s request for reasonable accommodation the

next day.

         40.     As a result of CFPB’s conduct described above, Jones has suffered substantial

damages. Jones has lost wages and other benefits, suffered embarrassment and humiliation, and

her career has been irreparably damaged.

III.     The CFPB Has Subjected Paz-Chow To Unlawful Treatment And Retaliation

         41.     Paz-Chow joined the Bureau in September 2011. He brought with him

considerable expertise and experience. He earned degrees in political science and finance from

Florida International University, and also holds an M.B.A. from Regis University. Before

joining the Agency, Paz-Chow was honorably discharged from the United States Army, he

worked for the Federal Deposit Insurance Corporation (“FDIC”) for two years, and he worked as

a Senior Commercial Lender for several major banks for eleven years. At the FDIC, Paz-Chow

gained extensive experience concerning the regulatory compliance requirements for financial

institutions and personally oversaw the closing of 20 to 30 banks.

         42.     Paz-Chow was responsible for reviewing the regulatory compliance of large

financial institutions in response to complaints filed against those institutions. He also served as

the point person on bank regulatory compliance, Freedom of Information Act (“FOIA”)

responses, and mortgage investigations. The Bureau also relied on Paz-Chow as an unofficial



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mentor and supervisor of new employees, whom he trained in investigative structures, writing,

and responding to Congressional inquiries.

          43.     Despite his dedication and accomplishments, the Bureau discriminated against

Paz-Chow by treating him less favorably than his white colleagues and retaliated against him for

engaging in protected activity. For example, the CFPB’s Bureau-wide performance evaluation

policy has resulted in Paz-Chow receiving lower performance reviews than those given to his

white counterparts whose performance was the same or worse than his.

          44.     The CFPB’s performance evaluations included many subjective elements that

resulted in lower rankings without any objective support, comments, or documentation.

Evaluations were also based on the number of investigations Paz-Chow and others completed,

but the CFPB gave no consideration to the different level of complexity or the length of time it

took to complete investigations. While Paz-Chow’s investigations often included some of the

most complicated and time-consuming assignments at the Bureau, his white colleagues often

received simple investigations requiring little time to complete.

          45.     These discriminatory performance evaluations led to unequal pay as well as

discrimination in promotions at the CFPB. For example, Paz-Chow applied for two separate

promotions to Team Lead positions—positions he was particularly qualified for given his

extensive experience and role as an informal trainer of new employees. Not only did the CFPB

not select him for either promotion, it also did not bother to inform him of that fact. In contrast,

white employees have applied for and received promotions to positions that were never even

posted.

          46.     Following the advice of his supervisors, Paz-Chow sought additional training and

detail assignments to increase his chances of obtaining a promotion and pay raise. Here too,



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however, Paz-Chow’s path was stymied by discrimination. For example, the Bureau offered

supervisory leadership training exclusively to an unpublished list of mostly white employees

based on a subjective assessment of their “leadership potential,” but denied Paz-Chow’s requests.

         47.     Once he realized the full extent of the discrimination within the Bureau, Paz-

Chow openly challenged those policies and the discriminatory methods for determining who

received promotions and training and unequal pay. The CFPB retaliated against Paz-Chow and

other minority employees who spoke out about discrimination and participated in the EEO

process.

         48.     For example, after he began the EEO complaint process, the CFPB informed Paz-

Chow that it would not be extending his contract and refused to convert him from a “term” to

“perm” employee. The CFPB claimed a diminished caseload and fewer investigations justified

this action. A CFPB manager informed Paz-Chow, however, that if he withdrew his EEO

complaint he would be offered a permanent position with the CFPB. In addition, the Bureau

continued to grant term extensions, to convert employees to permanent status, and to promote

white employees with less seniority and experience than Paz-Chow, but who did not complain

about discrimination. The Bureau even promoted at least one employee that Paz-Chow trained,

and the Bureau’s caseload continued to grow.

         49.     Paz-Chow applied for more than a dozen other positions; for most of them, the

Bureau did not interview him or respond to his application in any way. Notably, when Paz-

Chow applied for a permanent Consumer Response Specialist position, the Bureau deemed him

“not qualified” despite the fact that he currently held that position on a term basis and was

extremely qualified and competent in that position.




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         50.     As a result of CFPB’s conduct described above, Paz-Chow has suffered

substantial damages. Paz-Chow has lost wages and other benefits, suffered embarrassment and

humiliation, and his career has been irreparably damaged.

                                      CLASS ALLEGATIONS

         51.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of a class of racial minorities and females who worked for the CFPB as

Consumer Response Specialists and who were subjected to discrimination and retaliation by

CFPB due to their race or gender. All requirements of class certification are met by the proposed

class.

         52.     The class of racial minority or female employees and former employees is so

numerous that joinder of all members is impracticable. Fed. R. Civ. P. 23(a)(1).

         53.     There are questions of law and fact common to the class, and those questions can

and should be resolved in a single proceeding that furthers this litigation. Fed. R. Civ. P.

23(a)(2).

         54.     The claims alleged by Plaintiffs are typical of the claims of the class members.

Fed. R. Civ. P. 23(a)(3).

         55.     Plaintiffs will fairly and adequately represent and protect the interests of the class.

Fed. R. Civ. P. 23(a)(4).

         56.     The proposed class also meets the requirements for certification under Rule

23(b)(2) and/or Rule 23(b)(3). The questions of law and fact common to the members of the

class predominate over any questions affecting only individual members, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy. Fed.

R. Civ. P. 23(b)(3).



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         57.      The issues of determining liability and equitable relief, among other issues, are

also appropriate for certification under Rule 23(c)(4), as are other common issues.

                                               COUNT I

                         RACE DISCRIMINATION IN VIOLATION OF
                                    42 U.S.C. § 1981

         58.      Plaintiffs, individually and on behalf of those similarly situated, reallege

paragraphs 1 through 57 above and incorporate them by reference as though fully stated herein

as part of Count I of this Complaint.

         59.      Section 1977 of the Revised Statutes, 42 U.S.C. § 1981, as amended, guarantees

persons of all races the same right to make and enforce contracts, regardless of race. The term

“make and enforce” contracts includes the making, performance, modification, and termination

of contracts, and the enjoyment of all benefits, privileges, and conditions of the contractual

relationship.

          60.     CFPB maintains a nationwide set of uniform, discriminatory employment

practices and engaged in a pattern or practice of systemic race discrimination against racial

minorities that constitutes illegal intentional racial discrimination in violation of 42 U.S.C.

§ 1981.

         61.      Through the conduct alleged herein, CFPB denied Plaintiffs and other racial

minority Consumer Response Specialists opportunities and resources valuable to their career

because of their race and based on racial stereotypes. Defendants also discriminated against

Plaintiffs and all other similarly situated racial minority Consumer Response Specialists in

compensation, performance evaluation, promotions, and in other terms and conditions of their

employment.




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         62.     Plaintiffs and all those similarly situated were subjected to and harmed by CFPB

systemic and individual discrimination.

         63.     On behalf of themselves and the class they seek to represent, Plaintiffs request the

relief set forth below.

                                              COUNT II

                               RETALIATION IN VIOLATION OF
                                      42 U.S.C. § 1981

         64.     Plaintiffs, individually and on behalf of those similarly situated, reallege

paragraphs 1 through 57 above and incorporate them by reference as though fully stated herein

as part of Count I of this Complaint.

         65.     Plaintiffs engaged in protected activity by complaining of their unlawful treatment

and opposing CFPB’s discrimination in violation of 42 U.S.C. § 1981.

         66.     Plaintiffs suffered retaliation and harm because of their protected activity, in

violation of 42 U.S.C. § 1981.

         67.     On behalf of themselves and the class they seek to represent, Plaintiffs request the

relief set forth below.

                                             COUNT III

                RACE AND GENDER DISCRIMINATION IN VIOLATION OF
                              42 U.S.C. § 2000e et seq.

         68.     Plaintiffs, individually and on behalf of those similarly situated, reallege

paragraphs 1 through 57 above and incorporate them by reference as though fully stated herein

as part of Count III of this Complaint.

         69.     Plaintiffs filed Class Complaints with the CFPB’s Equal Employment

Opportunity (“EEO”) Office and have exhausted their administrative remedies.



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         70.     Title VII of the Civil Rights Act of 1964, as amended, makes it unlawful for an

employer to discriminate against any individual in the terms, conditions, or privileges of

employment on the basis of race and/or gender, or to limit, segregate, or classify its employees or

applicants for employment in any way which deprives or tends to deprive any individual of

employment opportunities or otherwise adversely affects his or her status as an employee on the

basis of race.

         71.     By their conduct as alleged herein, Defendants unlawfully discriminated against

Plaintiffs and those similarly situated in violation of Title VII, under both disparate treatment and

disparate impact theories of liability.

         72.     On behalf of themselves and the class they seek to represent, Plaintiffs request the

relief set forth below.

                                             COUNT IV

                               RETALIATION IN VIOLATION OF
                                   42 U.S.C. § 2000e et seq.

         73.     Plaintiffs, individually and on behalf of those similarly situated, reallege

paragraphs 1 through 57 above and incorporate them by reference as though fully stated herein

as part of Count IV of this Complaint.

         74.     Plaintiffs filed class complaints with the CFPB’s Equal Employment Opportunity

(“EEO”) Office and have exhausted their administrative remedies.

         75.     Title VII of the Civil Rights Act of 1964, as amended, makes it unlawful for an

employer to retaliate against an employee based on the employee’s complaint of discrimination

or opposition to employment discrimination.

         76.     Plaintiffs engaged in protected activity by complaining of their unlawful treatment

and opposing CFPB’s discriminatory practices.

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         77.     Plaintiffs suffered retaliation and harm because of their protected activity, in

violation of 42 U.S.C. § 2000e-3(a).

         78.     On behalf of themselves and the class they seek to represent, Plaintiffs request the

relief set forth below.

                                              COUNT V

                            VIOLATION OF THE EQUAL PAY ACT
                                    29 U.S.C. § 206(d)

         79.     Plaintiff Jones, individually and on behalf of those similarly situated, realleges

paragraphs 1 through 40 above and incorporates them by reference as though fully stated herein

as part of Count V of this Complaint.

         80.     The CFPB is an “employer” as defined by the Equal Pay Act, 29 U.S.C. §§

203(d), 206.

         81.     The Bureau has willfully discriminated against Jones and similarly situated

female workers in violation of the Fair Labor Standards Act of 1938, 29 U.S.C. § 206(d), as

amended by the Equal Pay Act of 1963, by subjecting them to unequal pay on the basis of sex.

         82.     The CFPB discriminated against Plaintiff and similarly situated female workers

by paying them lower wages and treating them differently from and less preferably than male

employees who performed jobs which required equal skill, effort, and responsibility, and which

were performed under similar working conditions.

         83.     The CFPB knew or should have known that paying male and female employees

working in the same position and performing substantially similar duties would violate the Equal

Pay Act.

         84.     The Bureau caused, attempted to cause, contributed to, or caused the continuation

of the wage rate discrimination based on sex in violation of the Equal Pay Act. Further,

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Defendant knew or showed reckless disregard for the fact that its conduct violated the Equal Pay

Act.

         85.     As a result of the CFPB’s conduct alleged herein, including the Bureau’s willful,

knowing, and intentional discrimination, Jones and similarly situated female workers suffered

and continue to suffer harm, including lost wages, lost benefits, and other financial loss.

         86.     On behalf of herself and the class she seeks to represent, Plaintiff Jones requests

the relief set forth below.

                                             COUNT VI

                                    VIOLATION OF THE ADA
                                     42 U.S.C. § 12112, et seq.

         87.     Plaintiff Jones realleges paragraphs 1 through 40 above and incorporates them by

reference as though fully stated herein as part of Count VI of this Complaint.

         88.     Jones, individually, brings this Count under the Americans with Disabilities Act,

42 U.S.C. § 12112, et seq., as amended (“ADA”).

         89.     At all relevant times, the Bureau was a covered “employer” within the meaning of

the ADA and required to comply with its provisions.

         90.     At all relevant times, Jones was a covered “employee” within the meaning of the

ADA and entitled to its protections.

         91.     At all relevant times, Jones was a qualified individual with a disability within the

meaning of the ADA.

         92.     At all relevant times, Jones had a disability that was covered by the ADA, that

impacted one or more of her major life functions; and the Bureau regarded her as having such an

impairment.




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         93.      At all relevant times, Jones could perform the essential functions of her positions

with the Bureau with or without reasonable accommodation.

         94.      Jones informed the Bureau about her disability and requested a reasonable

accommodation, but the Bureau failed to engage in the interactive process.

         95.      The Bureau discriminated and retaliated against Jones by not properly processing

her request for a reasonable accommodation, and denying her promotions, transfers, training and

other opportunities.

         96.      Plaintiff Jones requests the relief set forth below.



                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court find in favor of them and

the class they seek to represent and against Defendants as follows:

         a. Certify this case as a class action;

         b. Designate Plaintiffs as Class Representatives and designate Plaintiffs’ counsel of

               record as Class Counsel;

         c. Declare that the CFPB’s acts, conduct, policies and practices are unlawful and violate

               the federal statutes identified in the Counts alleged against them above;

         d. Declare that CFPB engages in a pattern and practice of racial discrimination against

               racial minorities and women, and employs policies and practices that have an

               unlawful disparate impact on racial minorities and women;

         e. Order that the CFPB stop discriminating and retaliating against racial minorities and

               women, and cease implementing policies and practices that have a disparate impact

               on racial minorities and women.



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         f. Order Plaintiffs and all others similarly situated reinstated to their appropriate

            positions, promotions, and seniority, and otherwise make Plaintiffs whole;

         g. Award Plaintiffs and all others similarly situated the value of all compensation and

            benefits lost and that they will lose in the future as a result of CFPB’s unlawful

            conduct;

         h. Award Plaintiffs and all others similarly situated compensatory and punitive damages

            and liquidated damages;

         i. Award Plaintiffs and all others similarly situated prejudgment interest, attorneys’

            fees, and costs, as provided by law; and

         j. Award Plaintiffs and all others similarly situated such other make whole equitable,

            injunctive, and legal relief as this Court deems just and proper to end the

            discrimination and fairly compensate Plaintiffs and those similarly situated.


                                 DEMAND FOR A JURY TRIAL

         Plaintiffs hereby demand a jury trial as provided for by Rule 38(a) of the Federal Rules of

Civil Procedure.

                                        Respectfully submitted on behalf of Plaintiffs and those
                                        similarly situated,


                                                s/ George S. Robot

Date: September 13, 2018

George S. Robot
STOWELL & FRIEDMAN, LTD.
303 W. Madison Street, Suite 2600
Chicago, Illinois 60606
Phone: 312-431-0888
Facsimile: 312-431-0228
Email: GRobot@sfltd.com

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